Case 3:22-cv-00211-SDD-SDJ   Document 273-1   09/06/23 Page 1 of 21




                 Exhibit 1
                           Case 3:22-cv-00211-SDD-SDJ                             Document 273-1        09/06/23 Page 2 of 21


Alyssa Riggins

From:                                                        Alyssa Riggins
Sent:                                                        Wednesday, September 6, 2023 6:04 PM
To:                                                          Stuart Naifeh; Jacob Shelly; Phil Gordon
Cc:                                                          Amitav Chakraborty; Steve Irving; John Adcock; Leah Aden; Nora Ahmed; Atkins, Robert
                                                             A; Sarah Brannon; Cleary, Yahonnes; coninej@scwllp.com; Jared Evans; Jonathan
                                                             Hurwitz; ernestjohnson@lacapfund.com; Sophia LIn Lakin; Stephanie Willis; Sara Rohani;
                                                             Kathryn Sadasivan; Adam Savitt; Daniel Sinnreich; msnider@slls.org; Alora Thomas-
                                                             Lundborg; john@scwllp.com; Victoria Wenger; crasto@lawbr.net; acullens@lawbr.net;
                                                             cullens@lawbr.net; Jonathan Hawley; Abha Khanna; laynelee@lawbr.net; Lali Madduri;
                                                             Alison (Qizhou) Ge; Cassie Holt; John Branch; brungardm@ag.louisiana.gov; Tom Farr;
                                                             Dallin Holt; duhona@ag.state.la.us; lagrouea@ag.louisiana.gov;
                                                             JonesCar@ag.louisiana.gov; Jason Torchinsky; mcphees@ag.louisiana.gov;
                                                             plewis@bakerlaw.com; kmcknight@bakerlaw.com; Brennan Bowen; walej@ag.state.la.us;
                                                             mmengis@bakerlaw.com; MurrillE@ag.louisiana.gov; eprouty@bakerlaw.com; Phil
                                                             Strach
Subject:                                                     RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)


Stuart,

We are perplexed by your changes to the proposed scheduling order. We laid out what we thought the schedule
articulated by Judge Johnson to be in an email to Jacob yesterday at 2:54 PM. Jacob responded in agreement at 11:31
PM. At that point the only difference was the pre-hearing brief dates. We sent a proposal at 10:19 AM, which Jacob
agreed to. The changes to the scheduling order are different than what was agreed to below. As such, it appears we
don’t have an agreement, and will need the Court to enter a scheduling order as referenced in Friday’s status
conference. We will file a notice with our schedule as articulated last week. Since it was Plaintiffs’ collective decision as
to whether they would elect one of the new hearing dates offered by Chief Judge Dick, we trust you will notify the Court
of your intention to keep to the October 3-5 dates and your proposed schedule.

Best,
Alyssa




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T 91 9. 329. 38 10           F 91 9. 329. 3799

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From: Stuart Naifeh <snaifeh@naacpldf.org>
Sent: Wednesday, September 6, 2023 4:30 PM
To: Alyssa Riggins <alyssa.riggins@nelsonmullins.com>; Jacob Shelly <jshelly@elias.law>; Phil Gordon
                                                                                      1
                                                                                                                                                                                 Case 3:22-cv-00211-SDD-SDJ                                                                          Document 273-1   09/06/23 Page 3 of 21
<pgordon@HoltzmanVogel.com>
Cc: Amitav Chakraborty <achakraborty@paulweiss.com>; Steve Irving <steve@steveirvingllc.com>; John Adcock
<jnadcock@gmail.com>; Leah Aden <laden@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>; Atkins, Robert A
<ratkins@paulweiss.com>; Sarah Brannon <sbrannon@aclu.org>; Cleary, Yahonnes <ycleary@paulweiss.com>;
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<Srohani@naacpldf.org>; Kathryn Sadasivan <ksadasivan@naacpldf.org>; Adam Savitt <asavitt@paulweiss.com>; Daniel
Sinnreich <dsinnreich@paulweiss.com>; msnider@slls.org; Alora Thomas-Lundborg
<tthomaslundborg@law.harvard.edu>; john@scwllp.com; Victoria Wenger <vwenger@naacpldf.org>;
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<akhanna@elias.law>; laynelee@lawbr.net; Lali Madduri <lmadduri@elias.law>; Alison (Qizhou) Ge <age@elias.law>;
Cassie Holt <cassie.holt@nelsonmullins.com>; John Branch <john.branch@nelsonmullins.com>;
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duhona@ag.state.la.us; lagrouea@ag.louisiana.gov; JonesCar@ag.louisiana.gov; Jason Torchinsky
<jtorchinsky@HoltzmanVogel.com>; mcphees@ag.louisiana.gov; plewis@bakerlaw.com; kmcknight@bakerlaw.com;
Brennan Bowen <bbowen@HoltzmanVogel.com>; walej@ag.state.la.us; mmengis@bakerlaw.com;
MurrillE@ag.louisiana.gov; eprouty@bakerlaw.com; Phil Strach <phil.strach@nelsonmullins.com>
Subject: Re: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)
Hi Alyssa, Please see attached plai ntiffs co mbi ned e dits to the motion a nd s ched ule. Stuart C. Nai feh (he/ him/él) Ma nager, Re districting Proje ct 40 Rector Street, 5th Flo or, New York, NY 1 0006 o: 212 . 217. 1669 | c: 917. 574. 5 846 | snai feh @ naa cpldf. org
ZjQcmQRYFp fptBa nnerStart




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                            Use caution responding or clicking links/attachments.

ZjQcmQRYFp fptBa nnerE nd




Hi Alyssa,

Please see attached plaintiffs combined edits to the motion and schedule.

Stuart C. Naifeh (he/him/él)
Manager, Redistricting Project




40 Rector Street, 5th Floor, New York, NY 10006
o: 212.217.1669 | c: 917.574.5846 | snaifeh@naacpldf.org
naacpldf.org

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From: Alyssa Riggins <alyssa.riggins@nelsonmullins.com>
Date: Wednesday, September 6, 2023 at 4:08 PM
To: Jacob Shelly <jshelly@elias.law>, Stuart Naifeh <snaifeh@naacpldf.org>, Phil Gordon
<pgordon@HoltzmanVogel.com>
Cc: Amitav Chakraborty <achakraborty@paulweiss.com>, Steve Irving <steve@steveirvingllc.com>, John
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<ycleary@paulweiss.com>, coninej@scwllp.com <coninej@scwllp.com>, Jared Evans <jevans@naacpldf.org>,
                                                                                                                                                                                                                                                                                        2
                                                                                               Case 3:22-cv-00211-SDD-SDJ                                                                Document 273-1   09/06/23 Page 4 of 21

Jonathan Hurwitz <jhurwitz@paulweiss.com>, ernestjohnson@lacapfund.com
<ernestjohnson@lacapfund.com>, Sophia LIn Lakin <slakin@aclu.org>, Stephanie Willis <swillis@laaclu.org>,
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<asavitt@paulweiss.com>, Daniel Sinnreich <dsinnreich@paulweiss.com>, msnider@slls.org
<msnider@slls.org>, Alora Thomas-Lundborg <tthomaslundborg@law.harvard.edu>, john@scwllp.com
<john@scwllp.com>, Victoria Wenger <vwenger@naacpldf.org>, crasto@lawbr.net <crasto@lawbr.net>,
acullens@lawbr.net <acullens@lawbr.net>, cullens@lawbr.net <cullens@lawbr.net>, Jonathan Hawley
<jhawley@elias.law>, Abha Khanna <akhanna@elias.law>, laynelee@lawbr.net <laynelee@lawbr.net>, Lali
Madduri <lmadduri@elias.law>, Alison (Qizhou) Ge <age@elias.law>, Cassie Holt
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lagrouea@ag.louisiana.gov <lagrouea@ag.louisiana.gov>, JonesCar@ag.louisiana.gov
<JonesCar@ag.louisiana.gov>, Jason Torchinsky <jtorchinsky@HoltzmanVogel.com>,
mcphees@ag.louisiana.gov <mcphees@ag.louisiana.gov>, plewis@bakerlaw.com <plewis@bakerlaw.com>,
kmcknight@bakerlaw.com <kmcknight@bakerlaw.com>, Brennan Bowen <bbowen@HoltzmanVogel.com>,
walej@ag.state.la.us <walej@ag.state.la.us>, mmengis@bakerlaw.com <mmengis@bakerlaw.com>,
MurrillE@ag.louisiana.gov <MurrillE@ag.louisiana.gov>, eprouty@bakerlaw.com <eprouty@bakerlaw.com>,
Phil Strach <phil.strach@nelsonmullins.com>
Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

[Caution: EXTERNAL EMAIL]

Hi Jacob,

Just wanted to follow up on below since we do have to let the Court know something today.

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N EL SONM ULLI NS.CO M                                                                                                                                               VCA RD VI EW BI O




From: Alyssa Riggins <alyssa.riggins@nelsonmullins.com>
Sent: Wednesday, September 6, 2023 1:08 PM
To: Jacob Shelly <jshelly@elias.law>; Stuart Naifeh <snaifeh@naacpldf.org>; Phil Gordon
<pgordon@HoltzmanVogel.com>
Cc: Amitav Chakraborty <achakraborty@paulweiss.com>; Steve Irving <steve@steveirvingllc.com>; John Adcock
<jnadcock@gmail.com>; Leah Aden <laden@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>; Atkins, Robert A
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                                                                                               Case 3:22-cv-00211-SDD-SDJ                                                                Document 273-1   09/06/23 Page 5 of 21
ernestjohnson@lacapfund.com; Sophia LIn Lakin <slakin@aclu.org>; Stephanie Willis <swillis@laaclu.org>; Sara Rohani
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MurrillE@ag.louisiana.gov; eprouty@bakerlaw.com; Phil Strach <phil.strach@nelsonmullins.com>
Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

Jacob,

Please find attached a consent motion and scheduling order. All Defendants have signed off on this. Please let us know if
this is acceptable to both the Galmon and Robinson Plaintiffs.

Best,
Alyssa

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From: Jacob Shelly <jshelly@elias.law>
Sent: Wednesday, September 6, 2023 10:54 AM
To: Alyssa Riggins <alyssa.riggins@nelsonmullins.com>; Stuart Naifeh <snaifeh@naacpldf.org>; Phil Gordon
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Cc: Amitav Chakraborty <achakraborty@paulweiss.com>; Steve Irving <steve@steveirvingllc.com>; John Adcock
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                                                                                                                                                                                            4
                                                                                                                                                                        Case 3:22-cv-00211-SDD-SDJ                                                                            Document 273-1   09/06/23 Page 6 of 21
duhona@ag.state.la.us; lagrouea@ag.louisiana.gov; JonesCar@ag.louisiana.gov; Jason Torchinsky
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Brennan Bowen <bbowen@HoltzmanVogel.com>; walej@ag.state.la.us; mmengis@bakerlaw.com;
MurrillE@ag.louisiana.gov; eprouty@bakerlaw.com; Phil Strach <phil.strach@nelsonmullins.com>
Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)
That works for u s, we are hap py to see the dra ft co nse nt motion whe n you have it ready. Be st, Jacob Ja cob Sh elly Elias Law Grou p LLP 250 Ma ssachus etts Ave NW Suite 400 Washingt on DC 20001 202 -968 -449 6 CONFIDENT IAL: Thi s email may co ntain privileged




That works for us, we are happy to see the draft consent motion when you have it ready.

Best,
Jacob

Jacob Shelly
Elias Law Group LLP
250 Massachusetts Ave NW Suite 400
Washington DC 20001
202-968-4496

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From: Alyssa Riggins <alyssa.riggins@nelsonmullins.com>
Sent: Wednesday, September 6, 2023 10:19 AM
To: Jacob Shelly <jshelly@elias.law>; Stuart Naifeh <snaifeh@naacpldf.org>; Phil Gordon
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<jnadcock@gmail.com>; Leah Aden <laden@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>; Atkins, Robert A
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MurrillE@ag.louisiana.gov; eprouty@bakerlaw.com; Phil Strach <phil.strach@nelsonmullins.com>
Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

Hi Jacob,

Thanks for letting us know that both sets of plaintiffs would like to stick with the October 3 hearing date. We would
prefer the September 29th date for the pre-trial briefs. This would make the schedule:
- Sept. 14: Serve fact witness disclosures
- Sept. 15: Defendants serve expert reports (supplemental and new)
- Sept. 18: Plaintiffs Disclose rebuttal expert witnesses
- Sept. 28: Plaintiffs serve rebuttal expert reports
- Sept. 29: Serve final witness lists, exhibit lists, pre-trial brief limited to 1 per side, at 30 pages.



                                                                                                                                                                                                                                                                                 5
                                                                                                                                                                             Case 3:22-cv-00211-SDD-SDJ                                                                             Document 273-1   09/06/23 Page 7 of 21
If this is acceptable to you, we would propose a consent motion that notifies the court of the selected hearing date with
a proposed order entering the schedule detailed above. Please let us know if you agree. If so, we are happy to prepare
the filing.

Best,
Alyssa
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From: Jacob Shelly <jshelly@elias.law>
Sent: Tuesday, September 5, 2023 11:31 PM
To: Alyssa Riggins <alyssa.riggins@nelsonmullins.com>; Stuart Naifeh <snaifeh@naacpldf.org>; Phil Gordon
<pgordon@HoltzmanVogel.com>
Cc: Amitav Chakraborty <achakraborty@paulweiss.com>; Steve Irving <steve@steveirvingllc.com>; John Adcock
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Brennan Bowen <bbowen@HoltzmanVogel.com>; walej@ag.state.la.us; mmengis@bakerlaw.com;
MurrillE@ag.louisiana.gov; eprouty@bakerlaw.com; Phil Strach <phil.strach@nelsonmullins.com>
Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)
Hi Alyssa, Thank you for your patie nce as we have several team members in trial. To en sure timely relief, the Robin son a nd Gal mo n plaintiffs will elect to sti ck with the Oct ober 3 heari ng date. It sounds like we share an u ndersta nding o f the




Hi Alyssa,

Thank you for your patience as we have several team members in trial. To ensure timely relief, the Robinson and
Galmon plaintiffs will elect to stick with the October 3 hearing date. It sounds like we share an understanding of the
pretrial deadlines the court is likely to order. Our notes reflect that the magistrate judge signaled a September 30
deadline for pretrial briefs, but we are not opposed to a September 29 deadline if the court so orders. I do not believe
there are any remaining issues requiring a meet-and-confer tomorrow, but let me know if you disagree.

Best,

                                                                                                                                                                                                                                                                                       6
                    Case 3:22-cv-00211-SDD-SDJ                              Document 273-1                 09/06/23 Page 8 of 21
Jacob

Jacob Shelly
Elias Law Group LLP
250 Massachusetts Ave NW Suite 400
Washington DC 20001
202-968-4496

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From: Alyssa Riggins <alyssa.riggins@nelsonmullins.com>
Sent: Tuesday, September 5, 2023 2:54 PM
To: Jacob Shelly <jshelly@elias.law>; Stuart Naifeh <snaifeh@naacpldf.org>; Phil Gordon
<pgordon@HoltzmanVogel.com>
Cc: Amitav Chakraborty <achakraborty@paulweiss.com>; Steve Irving <steve@steveirvingllc.com>; John Adcock
<jnadcock@gmail.com>; Leah Aden <laden@naacpldf.org>; Nora Ahmed <Nahmed@laaclu.org>; Atkins, Robert A
<ratkins@paulweiss.com>; Sarah Brannon <sbrannon@aclu.org>; Cleary, Yahonnes <ycleary@paulweiss.com>;
coninej@scwllp.com; Jared Evans <jevans@naacpldf.org>; Jonathan Hurwitz <jhurwitz@paulweiss.com>;
ernestjohnson@lacapfund.com; Sophia LIn Lakin <slakin@aclu.org>; Stephanie Willis <swillis@laaclu.org>; Samantha
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Lundborg <tthomaslundborg@law.harvard.edu>; john@scwllp.com; tlwesq@cox.net; Victoria Wenger
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<jhawley@elias.law>; Abha Khanna <akhanna@elias.law>; laynelee@lawbr.net; Lali Madduri <lmadduri@elias.law>;
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Torchinsky <jtorchinsky@HoltzmanVogel.com>; mcphees@ag.louisiana.gov; plewis@bakerlaw.com;
kmcknight@bakerlaw.com; Brennan Bowen <bbowen@HoltzmanVogel.com>; walej@ag.state.la.us;
mmengis@bakerlaw.com; MurrillE@ag.louisiana.gov; eprouty@bakerlaw.com; Phil Strach
<phil.strach@nelsonmullins.com>
Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

Jacob,

As an initial matter, we are concerned that after almost four days, Plaintiffs still cannot tell us whether they intend to
request a continuance of the October 3rd hearing and whether they seek to submit a new map. This delay cuts against
our time to meaningfully meet-and-confer about the critically important schedule in this rapidly-moving case.

Regardless, for clarity, can you confirm two points for us: (1) does your email below report the positions of all Plaintiffs,
or just Galmon Plaintiffs? (2) Your email also does not mention the October 23 dates offered by Judge Dick. Is it your
intention not to seek a date change to that week?

Our understanding based on the Friday call is that if the October 3 hearing date held that Judge Johnson would be
granting Defendants’ proposed schedule. Your dates match ours, but your language doesn’t quite match what we have
from our notes. Our collective recollection is below. I suspect we may just have a difference in language but agree in
principle as to what Judge Johnson indicated Friday the schedule would be.

Defendants proposed schedule was:
- Sept. 14: Serve fact witness disclosures
- Sept. 15: Defendants serve expert reports (supplemental and new)
- Sept. 18: Plaintiffs Disclose rebuttal expert witnesses
- Sept. 28: Plaintiffs serve rebuttal expert reports
                                                                                  7
                                                                                                                                                                             Case 3:22-cv-00211-SDD-SDJ                                                                                 Document 273-1   09/06/23 Page 9 of 21
- Sept. 29: Serve final witness and exhibit lists

We note that Judge Johnson indicated that Judge Dick asked for a single trial brief for each side limited to 30 pages. We
see you have proposed Saturday, September 30. Given that many of us may be traveling for the hearing, we would also
be amenable to the 29th as the deadline for this too. We could also make September 30 or even October 2 work.

Best,
Alyssa
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From: Jacob Shelly <jshelly@elias.law>
Sent: Tuesday, September 5, 2023 11:49 AM
To: Alyssa Riggins <alyssa.riggins@nelsonmullins.com>; Stuart Naifeh <snaifeh@naacpldf.org>; Phil Gordon
<pgordon@HoltzmanVogel.com>
Cc: Amitav Chakraborty <achakraborty@paulweiss.com>; Steve Irving <steve@steveirvingllc.com>; John Adcock
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mmengis@bakerlaw.com; MurrillE@ag.louisiana.gov; eprouty@bakerlaw.com; Phil Strach
<phil.strach@nelsonmullins.com>
Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)
Good mor ning, U nfort unately, our clients are traveling and s o we will not be able t o co nfir m our positio n until the en d of the day. I f we stick with the October 3 hearing date, our un derstanding fr om the magistrate judge i s that the pre-hearing




Good morning,

Unfortunately, our clients are traveling and so we will not be able to confirm our position until the end of the day. If we
stick with the October 3 hearing date, our understanding from the magistrate judge is that the pre-hearing deadlines will
be as follows:

- Sept. 14: Serve fact witness disclosures
                                                                                                                                                                                                                                                                                           8
                   Case 3:22-cv-00211-SDD-SDJ                              Document 273-1                 09/06/23 Page 10 of 21
- Sept. 15: Serve supplemental expert reports
- Sept. 18: Disclose rebuttal expert witnesses
- Sept. 28: Serve rebuttal expert reports
- Sept. 29: Serve final witness and exhibit lists
- Sept. 30: File pre-hearing briefs

In the event that we elect the November 6 rehearing date, you are welcome to prepare a proposed prehearing schedule.
We will be able to confer tomorrow to confirm if there are any areas of agreement; if there are not, we can separately
propose our preferred schedules to the court well in advance of tomorrow’s end-of-day filing deadline.

Best,
Jacob

Jacob Shelly
Elias Law Group LLP
250 Massachusetts Ave NW Suite 400
Washington DC 20001
202-968-4496

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Sent: Tuesday, September 5, 2023 8:41 AM
To: Stuart Naifeh <snaifeh@naacpldf.org>; Phil Gordon <pgordon@HoltzmanVogel.com>
Cc: Amitav Chakraborty <achakraborty@paulweiss.com>; Jacob Shelly <jshelly@elias.law>; Steve Irving
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Yahonnes <ycleary@paulweiss.com>; coninej@scwllp.com; Jared Evans <jevans@naacpldf.org>; Jonathan Hurwitz
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mmengis@bakerlaw.com; MurrillE@ag.louisiana.gov; eprouty@bakerlaw.com; Phil Strach
<phil.strach@nelsonmullins.com>
Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

Good Morning,

We are following up on our correspondence from Friday afternoon. Given that the Judge has ordered us to confer and
provide the Court with an update tomorrow, we need to understand Plaintiffs position on a new date hearing date as
soon as possible.

Best,
Alyssa


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                                                                                                                                                                     Case 3:22-cv-00211-SDD-SDJ                                                                                                   Document 273-1   09/06/23 Page 11 of 21
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T 91 9. 329. 38 10                                                                                                                                                                       F 91 9. 329. 3799

N EL SONM ULLI NS.CO M                                                                                                                                                                                                                                                        VCA RD VI EW BI O




From: Stuart Naifeh <snaifeh@naacpldf.org>
Sent: Friday, September 1, 2023 3:41 PM
To: Phil Gordon <pgordon@HoltzmanVogel.com>
Cc: Alyssa Riggins <alyssa.riggins@nelsonmullins.com>; Amitav Chakraborty <achakraborty@paulweiss.com>; Jacob
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MurrillE@ag.louisiana.gov; eprouty@bakerlaw.com; Phil Strach <phil.strach@nelsonmullins.com>
Subject: Re: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)
Hi Phil, Unfortunately, we cannot. Stuart C. Naifeh (he/hi m/él ) Manager, Redistri cting Proje ct 40 Re ctor Street, 5th Floor, N ew York, NY 10 006 o : 212. 2 17. 1 669 | c: 9 17. 57 4. 58 46 | snaifeh@ naacpld f. org naa cpldf. org P RIVILE GE AND CONFIDE NTIALITY




Hi Phil,

Unfortunately, we cannot.

Stuart C. Naifeh (he/him/él)
Manager, Redistricting Project




40 Rector Street, 5th Floor, New York, NY 10006
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Phil Strach <phil.strach@nelsonmullins.com>
Subject: Re: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

[Caution: EXTERNAL EMAIL]

Stuart,

You represented before the Court earlier today that you would be able to reach a decision on if you would seek a new
map. Can you please let us know your position on at least that by the end of the day?

Regards,

Phil Gordon


Phil Gordon
Partner
Holtzman Vogel
                                                            11
               Case 3:22-cv-00211-SDD-SDJ                 Document 273-1           09/06/23 Page 13 of 21
Office: 540.341.8808
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        On Sep 1, 2023, at 2:56 PM, Stuart Naifeh <snaifeh@naacpldf.org> wrote:



   Some people who received this message don't often get email from snaifeh@naacpldf.org. Learn why this is important

        Hi Alyssa,

        Speaking for both the Robinson and Galmon plaintiffs, we are not going to be in a position to make a
        proposal before Monday, unfortunately.

        Stuart C. Naifeh (he/him/él)
        Manager, Redistricting Project

        <image005.png>


        40 Rector Street, 5th Floor, New York, NY 10006
        o: 212.217.1669 | c: 917.574.5846 | snaifeh@naacpldf.org
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        Date: Friday, September 1, 2023 at 2:22 PM
        To: Amitav Chakraborty <achakraborty@paulweiss.com>, Jacob Shelly <jshelly@elias.law>,
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                                                                12
                    Case 3:22-cv-00211-SDD-SDJ                                                                                                                                           Document 273-1   09/06/23 Page 14 of 21

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<phil.strach@nelsonmullins.com>
Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

[Caution: EXTERNAL EMAIL]

Dear All,

We are writing about the schedules proposed by Judge Dick and Judge Johnson at the status conference
earlier today. As we understood it, Plaintiffs are going to confer about the proposed new hearing dates
and then if you want a new date, we need to have conferred on a schedule and get back to the court by
Wednesday. To be sure that we can meet that deadline, can you please let us know your position on the
proposed schedules later today?

Best,
Alyssa

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Sent: Thursday, August 31, 2023 9:12 AM
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                                                                                                                                                                                            13
                                                                       Case 3:22-cv-00211-SDD-SDJ                                                                                                                                                                Document 273-1   09/06/23 Page 15 of 21
Cc: Cassie Holt <cassie.holt@nelsonmullins.com>; John Branch <john.branch@nelsonmullins.com>;
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Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)
Alyssa, Thanks for letting us know. T he Robin son a nd Gal mon Plaintiffs are not available at 1 p m ET, b ut we are available at 2 pm ET. Pleas e let us know i f that works for yo u. Be st, Amitav Amitav Chakraborty | Asso ciate Paul, W eiss, Ri fkind,




Alyssa,

Thanks for letting us know. The Robinson and Galmon Plaintiffs are not available at 1 pm ET, but we are
available at 2 pm ET. Please let us know if that works for you.

Best,
Amitav

Amitav Chakraborty | Associate
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Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

Hi Jacob and Amitav,

Thanks for getting the ball rolling on scheduling. We are not available at 11, but I believe that both
counsel for the Secretary and counsel for the Legislative Intervenors are available at 1 pm EST. Would
that time work on your end?


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Phil Strach <phil.strach@nelsonmullins.com>
Subject: Re: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)
The Galmon Plainti ffs are available at that time as well. Jacob Shelly Elias Law Gr oup LLP 250 Ma ssachusetts Ave N W Suite 400 Wa shington DC 2 0001 2 02-968 -4496 CONFIDENTIA L: This e mail may contain privileged or con fidential in for mation an d is




The Galmon Plaintiffs are available at that time as well.


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Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

All,

Consistent with the court’s order from yesterday, are you available to meet and confer regarding the
proposed schedule ahead of the scheduling conference this afternoon? The Robinson Plaintiffs are
available at 11 am ET to discuss.

Best,
Amitav
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                                                     16
        Case 3:22-cv-00211-SDD-SDJ              Document 273-1   09/06/23 Page 18 of 21
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Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

Phil,

The Robinson Plaintiffs oppose the motions as well.

Best,
Amitav
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Subject: RE: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

Good morning,


                                                      17
        Case 3:22-cv-00211-SDD-SDJ                               Document 273-1                  09/06/23 Page 19 of 21
The Galmon Plaintiffs also oppose the motions.

Best,
Jacob

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Subject: Re: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

It's opposed.

Steve Irving

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                                                                        18
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kmcknight@bakerlaw.com <kmcknight@bakerlaw.com>; Brennan Bowen
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mmengis@bakerlaw.com <mmengis@bakerlaw.com>; murrille@ag.louisiana.gov
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phil.strach@nelsonmullins.com <phil.strach@nelsonmullins.com>
Subject: Robinson v. Ardoin - No. 22-cv-00178-SDD-SDJ (consolidated case)

Good afternoon,

Defendants intend to file an emergency motion with the Court requesting that the remedial hearing be
cancelled and a date for trial be set. We also intend to file a motion to expedite consideration of this
motion.

Please let us know your position on these motions by 4:00 p.m. central time tomorrow.

Regards,

Phil Gordon

<image001 .png>




                  Phil Gordon
                                   <image002 .png>




                  Partner
                                   DC • VA • FL • AZ holtzmanvogel.com
                                                                                 <image003 .png>   <image004 .png>




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DISCLAIMER

                                                                 19
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research and provide you with a detailed written analysis. Such an engagement may be the subject of a separate
engagement letter that would define the scope and limits of the desired consultation services.




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